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“E“sE”‘"s”°’Case 2:97-cr-20190-SHH|NIES{R§1£H[T{H Pl§U%WFQFE)QUPIQe 1 Of 3 PaQ€lD
or

  

WESTERN DISTRICT ()F TENNESSEE

WESTERN DIVISION

U.S.A. vs. Kenneth McMullen Docket No. 2:97€R29190 '_,.`:`:

 

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Petition on Probation and Supervised Release

COMES NOW DAWN L. BROWN . PROBATION ()FFICER OF THE COURT presenting an
official report upon the conduct and attitude ofKenneth McMullen, Who was placed on supervision by the Honorable
Samuel H. May§, Jr. sitting in the Court at Memphjs, Tennessee , on the 5th day of .l_ul_y_, _Z_QO_Z, Who fixed the
period of supervision as a Conditional Release, and imposed the general terms and conditions theretofore adopted
by the Court.

 

1. The defendant shall reside at Ridgemont Group Home in a structured environment in which his
compliance with medication and community adjustment can be monitored.

2. The defendant shall continue to take medication as ordered and as may be adjusted by his treating
psychiatrist

3. The defendant shall participate in mental health programs deemed therapeutic by the mental health
professionals supervising his care, which may include voluntary admission to a psychiatric hospital
on an inpatient basis should it be deemed necessary by his treating psychiatrist

4. The defendant shall abstain from any use of alcohol or drugs (other than lawful medications
prescribed by his treating psychiatrist and/or physician), shall submit to random urinalysis testing at
the direction of the Probation Office and/or the professionals treating him, and shall participate in
substance abuse treatment at an agency approved by the Probation Oftice.

5. The defendant shall not make threats to harm anyone.

6. The defendant shall he supervised by the U.S. Probation Office for the Western District of Tennessee
and shall voluntarily consent to the release of information between the Probation Office and the
treating mental health professionals.

* Supervision began: September 25, 2002
SEE ATTACHED

PRAYING THAT THE COURT WILL ORDER a Warrant be issued for Kenneth McMullen to appear before
the United States District Court to answer charges regarding his violations of his Conditional Release.

BOND:

 

ORDER OF COURT l declare under penalty of perjury that the
foregoing is true and correct.
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Consiqered and ordered . day Executet?:(‘ ,V _,
of l°v' l , 20'° and ordered on _.n/u j qt 010 0 5

filed and made a part of the records in

the above c e.
Y%M'="m“““ United States Probation Ot`ficer

 

 

United States District Judge Place: Memohis_ TN 38103 z
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!h:s document entered on the docket sheet in compliance \:7:/,

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RE: Kenneth McMullen
Docket Number: 2:97CR20190
Page 2

RESPECTFULLV PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

The Defendant Has Violated The Following Conditions Of His Conditional Release.

The defendant shall reside at Ridgemont Group Home in a structured environment in which his compliance
with medication and community adjustment can be monitored

On April 13, 2005, Kenneth McMullen attacked another mental health consumer at the Southeast Mental Health
Center (a residential facility) where he resided According to a Southeast Mental Health Center incident report, Mr.
McMullen made an object with a sharp edge which he used to attack his suite mate by cutting him on his forehead.
Mr. McMullen was taken into custody by Memphis Police and transported to the Regional Medical Center at
Memphis on a mental health emergency commitment Case Manager, Patricia Doresy, of Southeast Mental Health
Center advised that the defendant was discharged from the facility effective April 17, 2005 as a result of this
incident and would not be allowed to return to any Southeast Mental Health Center residential facilities Currently,
Mr. McMullen is hospitalized at Community Behavioral Heath with a discharge date of ApriI 19, 2005.

The defendant shall not make threats to harm anyone.
A Southeast Mental Health Center incident report dated April 13, 2005, reveals that shortly after the attack, Mr.

McMullen stated to Terrance Potlow, Southeast Mental Health Residential Coordinator, that he would kill the
victim.

   

UNITD sTATES DRISTIC COURT - ESTERN DISITRCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:97-CR-20190 was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

Dan Newsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

